This case comes here on appeal from a judgment of the Circuit Court of Cole County, approving and sustaining an order of the Public Service Commission in the case of St. Louis-San Francisco Railway Company, complainant, v. Missouri Pacific Railroad Company, defendant, No. 2823. The Public Service Commission will be referred to as "commission"; appellant (defendant in the proceeding before the commission) will be referred to as the "Missouri Pacific." St. Louis-San Francisco Railway was complainant before the commission. It was not made a party in thecertiorari proceedings before the circuit court. It will be referred to as the "Frisco." It has filed in this court a brief in support of the order made by the commission.
Approaching their respective stations at Tower Grove Avenue in St. Louis from the west, the lines of railroad of the Frisco and Missouri Pacific approximately parallel one another until a point a few hundred feet west of Tower Grove Avenue is reached, where they begin to diverge. The Missouri Pacific lies to the north of the Frisco. A few feet west of Tower Grove Avenue the Oak Hill branch of the Missouri Pacific leaves its main line and runs to the southwest, crossing the tracks of the Frisco at grade, both railroads being in cuts of about fifteen feet at the point of crossing. The Oak Hill branch *Page 626 
has only a single track at the crossing, while the Frisco has two main-line tracks and a "runner" track. A few years ago there was a separation between the street grade and the railroad tracks at Tower Grove, and the tracks of both railroads were lowered twelve or fourteen feet. Prior to that time the tracks at the point of crossing were laid in cuts not over two or three feet deep. Before the grade of the railroad tracks was lowered the Oak Hill branch was double-tracked at the point of crossing.
It appears that the cuts are now so deep that a train upon one line of railroad approaching the crossing cannot be seen by the operatives of the train upon the other railroad approaching the same crossing. The standard rules require that trains approaching the crossing be brought to a stop, and that the locomotives give the crossing signal before attempting to move over the crossing. The Missouri Pacific has adopted the additional precaution of flagging the crossing.
The Oak Hill branch of the Missouri Pacific is the junior railroad. Sometime about 1886 a contract respecting protection at the crossing was executed between the predecessors of the present railroads. In 1903 another contract was executed between the immediate predecessors of the present companies, which provided for an interlocking plant to protect the crossing. Such interlocker had never been constructed. There was put in evidence certain correspondence between the Frisco and the Missouri Pacific wherein the Frisco urged the co-operation of the Missouri Pacific in constructing such interlocker. These negotiations, carried on for several years, were fruitless, and on December 9, 1920, the Frisco filed a formal complaint before the commission, asking that the commission order the installation, operation and maintenance of an interlocking plant at said crossing and apportion the expense thereof between the two railroads. On December 18, 1920, the Missouri Pacific filed its answer with the commission denying that the crossing is dangerous or that there exists immediate necessity for *Page 627 
an interlocking plant thereat. It averred that when the Tower Grove viaduct was constructed and the tracks of both railroads were depressed from their original elevations the Missouri Pacific re-laid only one of its tracks over the crossing as a temporary expedient; that it contemplated elevating its Oak Hill tracks so as to pass over the Frisco tracks at a point a short distance west of the present location of the crossing, but such plans were not carried out because of the war and conditions since then; that neither the Frisco nor the Missouri Pacific should be required to expend $80,000 or more in the construction of a temporary interlocker at the present crossing; that an overhead crossing should ultimately be constructed at a permanent location at such time as the finances of the Missouri Pacific and of the city of St. Louis will permit. It appears that the city contemplated a general separation of street and railroad grades in the vicinity, to the cost of which it would be expected to contribute. The prayer of the answer was that no interlocker be ordered and that the making of any order be deferred until such time as the commission may require the railroads interested to co-operate in the construction of a viaduct over the tracks of the Frisco. The city of St. Louis was brought into the proceedings upon the order of the commission, but disclaimed any interest in the case. After hearing the case, the commission rejected the request of the Frisco for an interlocker. One of its reasons appears to have been the manifest danger inherent in a crossing at grade in deep cuts. It adopted the suggestion of the Missouri Pacific that an overhead crossing is required to meet the situation, approved its plan for a viaduct at a different location, and rejected its plea for delay. It ordered the Missouri Pacific to eliminate the grade crossing and to submit plans therefor to be approved by the commission and to complete the work by April 1, 1923. It apportioned the cost thereof on the percentage basis, 25 per cent to the Frisco and 75 per cent to the Missouri Pacific. The Missouri Pacific filed its motion for a rehearing, and on January 20, 1922, *Page 628 
the commission overruled such motion and filed a supplemental report and order. Within thirty days thereafter the Missouri Pacific caused a writ of certiorari to be issued out of the Circuit Court of Cole County, requiring the commission to certify to that court a full, true and complete copy of the record in the case, together with a true transcript of the evidence. After a hearing the circuit court held the order to be reasonable and lawful and entered its judgment sustaining and approving the same. The Missouri Pacific has brought the case here on appeal from such judgment.
The authority of the commission to make the order is not challenged here and was not questioned below. [Sec. 10459, R.S. 1919.] The sole contention of appellant, the Missouri Pacific, is that the order of the commission is unjust and unreasonable, and that the circuit court erred in approving and confirming such unjust and unreasonable order. The basis for this contention is the apportionment of the cost of grade separation fixed by the commission. The apportionment of one-fourth of the cost to the Frisco and three-fourths thereof to the Missouri Pacific may appear to be harsh and its justification questionable, at least until all the facts are considered. The Frisco maintains two main-line tracks and a runner track at the present point of crossing, while the Missouri Pacific maintains only one main-line track. A traffic study for fifteen days shows average train movements over the present crossing by the Missouri Pacific to be 34.8 and by the Frisco 87.9. But the commission based its order upon other considerations as well. In its supplemental report, it said:
"The defendant's single track now crosses the complainant's double tracks at the place of which complaint is made. A single track seems to be ample to accommodate the defendant's train movements at that point under present conditions. The plans for a separation of the tracks of the parties hereto as proposed by the defendant contemplates the elevation and detouring of the defendant's tracks before reaching the present crossing *Page 629 
so that the same will cross the complainant's tracks overhead and then connect with defendant's main line from Kansas City. The plan, however, as presented by defendant and adopted by the commission requires that this detour line, which is to be elevated, shall provide for a double track instead of a single track, which the defendant now uses. In other words, if the plan for detouring defendant's line were to provide for a single track instead of a double track, the cost of the improvement would be $208,000, and upon that basis, if the complainant were charged with $100,000, it would pay approximately 48 per cent of the expense of doing the work in a manner ample to meet present conditions. The cost of separating the track at the crossing, tothe extent that it is above $208,000 in providing for twotracks, is for the purpose of caring for additional trainmovements that may develop during a long period of time in thefuture and should be borne by the defendant." (Italics ours).
The Missouri Pacific contended that the construction of an interlocking plant at the present crossing would necessitate including in such plant the junction of the Oak Hill line with its main line. The total number of units to be operated from such interlocking plant would require the operation of the following units:
   Missouri Pacific main-line tracks to Kansas City, ..................  69. Oak Hill tracks, ....................  22.5 Frisco tracks, ......................  28.5 _____ 120.
Such considerations would apportion 76.25 per cent of the cost of an interlocker to the Missouri Pacific and 23.75 per cent to the Frisco. Appellant insists that it will be compelled to put in an interlocker at the junction of its main and Oak Hill tracks, even with a viaduct constructed at the new point of crossing. The commission found to the contrary. In its supplemental report it said:
"Under the plan adopted, an interlocking plant will *Page 630 
not be necessary at the junction between the defendant's Oak Hill and Kansas City lines until the number of train movements increase at that point. However, were an interlocking plant erected as now sought by complainant at the present crossing of its tracks with the defendant's tracks, it would be necessary to interlock the junction between the defendant's Oak Hill and Kansas City lines as now located."
The testimony tended to show that it would be necessary to include the junction of the main and Oak Hill lines in the interlocking plant constructed at the present crossing because of its proximity to the crossing. The construction of an interlocker at such junction is not affected by crossing conditions where the grades are separated, but must be determined solely by conditions of Missouri Pacific train movements at such junction. The commission found there is no present requirement for such interlocker.
The commission further found that a single-track viaduct on the Oak Hill lines at the new point of crossing would serve the present needs of the Missouri Pacific and, at that location, would cost $208,000. Such single track at the grade crossing has served for eight or ten years. It is obvious that less delay will occur over the viaduct than over a crossing at grade through an interlocker, the same number of tracks being used. There fore, if the Missouri Pacific has been able to operate its Oak Hill line by means of a single track over a grade crossing, a single track viaduct may reasonably be found to be sufficient for its present needs.
There seems to be sufficient basis for the commission's finding that the construction of a double-track viaduct at the new location will involve the expenditure of approximately $200,000 additional, all of which additional expenditure is for the benefit of the Missouri Pacific to take care of anticipated increases in train movements. The Frisco only asked for an interlocker, the cost of which would be approximately $127,000, if the Missouri Pacific junction was included, and considerably *Page 631 
less or approximately $80,000, if it was not included. On the unit basis and including the junction, the cost of construction of such interlocker could reasonably have been apportioned 76.25 per cent to the Missouri Pacific and 23.75 per cent to the Frisco. The Missouri Pacific opposed the interlocker, contended for the delay in making any order and suggested separation of grades. The commission found crossing protection should not be delayed and adopted the Missouri Pacific's suggestion for the overhead crossing, the cost of which to meet present needs was $208,000. In approving the Missouri Pacific's suggestion for the double-track viaduct, the cost was nearly doubled. The commission evidently did not think it would be justified in saddling any of the additional cost upon the Frisco. In apportioning one-fourth of the $400,000 estimated cost of the double-track viaduct to the Frisco, the order required that railroad to pay nearly one-half of the cost of the sort of overhead crossing the commission found was necessary to serve the present needs of the Missouri Pacific.
Considering all the foregoing facts, we are unable to say that the order of the commission is unreasonable. Section 10535, Revised Statutes 1919, places the burden upon the appellant "to show by clear and satisfactory evidence" that such order is unreasonable. Section 10459 gives the commission the exclusive power to determine the proportions in which the expense of abolition of grade crossings shall be borne. The determination of that question is within the discretion of the commission, but, of course, such discretion must be reasonably and lawfully exercised.
Appellant contends that the cost of grade separation should have been apportioned at least on the basis of the number of units required in the interlocking plant which apply to the respective railroads, not including the junction, or 44 per cent to the Missouri Pacific and 56 per cent to the Frisco. This is upon the theory that the Missouri Pacific will still be compelled to interlock the junction between its main and Oak Hill lines. This the *Page 632 
commission found was unnecessary when the viaduct is built at the new location for the crossing. The 1903 contract provided a basis for apportioning the cost of an interlocker. The Missouri Pacific refused to carry out such contract. The basis therein agreed upon for an interlocker cannot control the apportionment of the cost of a viaduct.
On the train basis the apportionment would have been 28.5 per cent to the Missouri Pacific and 71.2 per cent to the Frisco. Appellant cites a number of interlocker cases where the commission apportioned the cost on the train basis. We deem it unnecessary to discuss them. An examination of these cases does not show that such basis is the only basis the commission considered in those cases or that they adopted the train basis for all interlocking cases. An apportionment proper and reasonable in an interlocking case should not control the apportionment of the cost of constructing a viaduct, especially a viaduct built to meet the increased use anticipated by one of the railroads. Other considerations may, and in this case clearly did, influence the commission in determining the portion of the cost each of the interested railroads should reasonably pay.
Our conclusion is that appellant has failed to sustain the burden cast upon it by the Public Service Commission Act of showing by clear and satisfactory evidence that the order of the commission is unreasonable. It results that the judgment of the circuit court is affirmed. All concur, except Woodson, C.J.,
and Graves, J., who dissent. *Page 633 